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  12
  13                             UNITED STATES DISTRICT COURT
  14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
     Amazon Content Services, LLC;             Case No. 2:18-CV-03325-MWF (AS)
  16 Columbia Pictures Industries, Inc.;
     Disney Enterprises, Inc.; Netflix         PLAINTIFFS’ MOTION TO
  17 Studios, LLC; Paramount Pictures          COMPEL DEPOSITIONS OF
     Corporation; Sony Pictures Television     DEFENDANTS JASON
  18 Inc.; Twentieth Century Fox Film          LABOSSIERE AND NELSON
     Corporation; Universal City Studios       JOHNSON
  19 Productions LLLP; Universal Cable
     Productions LLC; Universal Television     DISCOVERY MATTER
  20 LLC; Warner Bros. Entertainment Inc.,
                                               Judge: Hon. Michael W. Fitzgerald
  21                   Plaintiffs,
                                               Magistrate Judge: Hon. Alka Sagar
  22            vs.
                                               Date: March 26, 2019
  23 Set Broadcast, LLC d/b/a Setvnow;         Time: 10:00 a.m.
     Jason Labossiere; Nelson Johnson,         Ctrm: 540
  24                                           Fact Discovery Cut-off: April 1, 2019
                 Defendants.                   Expert Discovery Cut-off: April 29,
  25                                           2019
                                               Pretrial Conference: July 15, 2019
  26                                           Trial: August 6, 2019
  27                                           Filed concurrently with: Declaration of
                                               Michael B. DeSanctis
  28   41245322.3
                                                            MOTION TO COMPEL DEPOSITIONS
                                                             CASE NO. 2:18-CV-03325-MWF (AS)
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   1            TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF
   2 RECORD:
   3            PLEASE TAKE NOTICE that on March 26, 2019, at 10:00 a.m., or as soon
   4 thereafter as this matter may be heard in Courtroom 540, 5th Floor, of the above-
   5 entitled court located at 255 E. Temple St., Los Angeles, CA, 90012, Plaintiffs
   6 Amazon Content Services, LLC, Columbia Pictures Industries, Inc., Disney
   7 Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures Corporation, Twentieth
   8 Century Fox Film Corporation, Universal City Studios Productions LLLP, and
   9 Warner Bros. Entertainment Inc., (“Plaintiffs”), will and hereby do move to compel
  10 Defendants Jason Labossiere’s and Nelson Johnson’s attendance at their
  11 depositions.
  12            This Motion is based upon this Notice of Motion, the attached Memorandum
  13 of Points and Authorities, the Declaration of Michael B. DeSanctis and exhibits
  14 thereto filed concurrently herewith.
  15            This Motion is made following Defendant counsel’s failure to comply with
  16 L.R. 37-1, pursuant to L.R. 37-2.4. See Declaration of Michael B. DeSanctis
  17 (DeSanctis Decl.) ¶ 7.
  18
  19 DATED: February 22, 2019               MUNGER, TOLLES & OLSON LLP
  20
  21
                                            By:         /s/ Michael B. DeSanctis
  22
                                                  MICHAEL B. DESANCTIS
  23                                              Attorneys for Plaintiffs
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   1 I.      INTRODUCTION
   2         Pursuant to Federal Rule of Civil Procedure 37(a) and Local Rule 37-2.4,
   3 Plaintiffs Amazon Content Services, LLC, Columbia Pictures Industries, Inc.,
   4 Disney Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures Corporation,
   5 Twentieth Century Fox Film Corporation, Universal City Studios Productions
   6 LLLP, and Warner Bros. Entertainment Inc., (“Plaintiffs”) respectfully submit this
   7 motion to compel Defendants Jason Labossiere’s and Nelson Johnson’s
   8 (“Defendants”) attendance at their depositions. Because defense counsel, Mr.
   9 Joseph Shapiro, has refused to meet and confer with Plaintiffs regarding this matter,
  10 Plaintiffs have no other option than to file this motion absent a joint stipulation.
  11         Plaintiffs first noticed Labossiere’s and Johnson’s depositions for October 29,
  12 2018 and October 30, 2018. Defendants, however, apparently were unavailable on
  13 those dates due in part to Defendant Labossiere having been placed under house
  14 arrest on unrelated criminal charges. Plaintiffs thus agreed to reschedule
  15 Defendants’ depositions. Ever since then, Defendants have been either unwilling or
  16 unable to provide dates on which they are available to be deposed. Mr. Shapiro
  17 most recently responded to Plaintiffs’ repeated attempts to discuss the depositions
  18 by indicating that he had lost contact with his clients and had not been paid for some
  19 time. He further indicated that he would be withdrawing as counsel by February 12,
  20 2019, and is unable to assist in scheduling his clients’ depositions, though to date,
  21 no such notice or motion appears to have been filed. Given Defendants’ refusal to
  22 schedule their depositions and Mr. Shapiro’s refusal or inability to meaningfully
  23 engage with Plaintiffs’ counsel, Plaintiffs move for an Order compelling Defendants
  24 to sit for depositions within 30-days of the issuance of the requested Order.
  25 II.     BACKGROUND
  26         A.    Factual Background
  27         Plaintiffs filed their complaint for copyright infringement on April 20, 2018.
  28 (Dkt. 1 (“Compl.”).) As set forth in the complaint, Defendants marketed and sold
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   1 subscriptions to “Setvnow” (also known as “Set TV”), a software application that
   2 Defendants urged their customers to use as a tool for the mass infringement of
   3 Plaintiffs’ copyrighted motion pictures and television shows. (Compl. ¶¶ 1-4, 29-
   4 40.) Like the defendants in Universal City Studios Productions LLLP et al. v.
   5 TickBox TV LLC et al., 17-cv-07496-MWF(AS) and Netflix Studios, LLC et al. v.
   6 Dragon Media, Inc. et al., 18-cv-00230-MWF(AS), there is no question that
   7 Defendants here intentionally induced the widespread infringement of Plaintiffs’
   8 copyrighted works.
   9            Defendants offered their customers high-quality and high-speed streams of
  10 infringing content, including “live” premium television channels and motion
  11 pictures on demand.
  12            Defendants’ sale and promotion of Setvnow is flagrantly illegal. Indeed,
  13 judgment has been entered against Defendants in the District Court for the Middle
  14 District of Florida, where plaintiffs Dish Network LLC and Nagrastar LLC asserted
  15 claims under the Federal Communications Act, 47 U.S.C. § 605(a), based on
  16 Defendants’ unauthorized “pirating” of the plaintiffs’ television programming and
  17 illegal streaming of these “pirate streams” via Setvnow. See Dish Network LLC v.
  18 Johnson et al., 18-cv-01332-VMC-AAS (M.D. FL.), Dkt. 1 (complaint), 84 (final
  19 judgment and permanent injunction against Johnson, Labossiere, and Set Broadcast
  20 LLC).
  21            B.    Defendants’ Repeated Failure to Make Themselves Available for
                      Depositions
  22
                On September 28, 2018, Plaintiffs served deposition notices for Labossiere
  23
       and Johnson on October 29 and 30, 2018, respectively. On October 19, 2018, only
  24
       one week before Plaintiffs were scheduled to depose Defendants, defense counsel
  25
       indicated that “the noticed deposition dates do not work for us,” and that “[o]ne
  26
       significant issue is that Jason Labossiere is currently under house arrest as a result of
  27
       unrelated criminal charges.” See DeSanctis Decl. ¶ 3. During a telephonic
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   1 conference of counsel, defense counsel requested that the depositions be
   2 rescheduled for nearly one month later (the third week of November), and explained
   3 that this significant delay was necessary because he would have to “go through a
   4 process” to acquire permission for Labossiere to attend a deposition outside of his
   5 home. Id. Plaintiffs agreed and attempted to confirm the deposition dates of
   6 November 14 and 15, 2018, but to no avail. When Plaintiffs’ counsel requested a
   7 meet-and-confer on November 7, 2018, defense counsel responded that he couldn’t
   8 speak until November 13.
   9            Unable to confirm the November 14 and 15 dates with defense counsel,
  10 Plaintiffs’ counsel again requested that defense counsel provide availability for
  11 Defendants’ depositions, and Mr. Shapiro indicated that he would confer with his
  12 clients regarding having the depositions over a month later, during the week of
  13 December 17, 2018. Id. ¶ 4. Defense counsel then indicated that he and his clients
  14 would be available only after January 28, 2019. Id. Plaintiffs’ counsel emailed Mr.
  15 Shapiro on January 15, 2019, requesting that Mr. Shapiro confirm deposition dates
  16 for after January 28. Mr. Shapiro responded on January 16, 2019, and explained
  17 that his clients had “become pretty unresponsive” and that he was “considering
  18 withdrawing on this case.” Id. ¶ 5. Defense counsel requested “a couple of days” to
  19 discuss this with his clients, and Plaintiffs’ counsel again requested an update on
  20 January 22, 2019. Three days later, defense counsel responded “No updates right
  21 now.” Id. Finally, defense counsel indicated that he was no longer being paid by
  22 his clients, and would be filing a notice or motion to withdraw as counsel by
  23 February 12, 2019, and therefore is unable to assist in scheduling his clients’
  24 depositions. As of the date of this motion, defense counsel has not withdrawn. Id.
  25 ¶ 6. Fact discovery closes on April 1, 2019.
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   1            C.    Defense Counsel’s Refusal to Meet and Confer Regarding
                      Defendants’ Failure to Agree to Appear for Depositions
   2
                As required by Local Rule 37-1, Plaintiffs’ counsel attempted to meet and
   3
       confer with defense counsel, Mr. Shapiro, prior to the filing of this motion. The
   4
       Rule provides that “[u]nless relieved by written order of the Court upon good cause
   5
       shown, counsel for the opposing party shall confer with counsel for the moving
   6
       party within ten (10) days after the moving party serves a letter [“identify[ing] each
   7
       issue…in dispute” and] requesting such conference.” Plaintiffs’ counsel served
   8
       such a letter on Mr. Shapiro on February 12, 2019. DeSanctis Decl. ¶ 7. Mr.
   9
       Shapiro has not met and conferred with Plaintiffs’ counsel regarding these matters.
  10
       The service of the Local Rule 37-1 correspondence followed multiple informal
  11
       attempts by Plaintiffs’ counsel to find mutually agreeable dates for Defendants’
  12
       depositions, to no avail.
  13
                As such, Plaintiffs have no choice but to file this motion. As a general matter
  14
       the “Court will not consider any discovery motion in the absence of a joint
  15
       stipulation.” L.R. 37-2.4. An exception is made however, when a party provides “a
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       declaration from counsel for the moving party establishing that opposing counsel (a)
  17
       failed to confer in a timely manner in accordance with L.R. 37-1.” Id. Plaintiffs
  18
       have provided such a declaration and request the Court grant them the relief sought
  19
       in this motion. See DeSanctis Decl. ¶ 7.
  20
       III.     ARGUMENT
  21
                “Plaintiff[s] [are] entitled to depose defendants pursuant to Rule 30(a)(1).”
  22
       Square D. Co. v. Anderson, No. S-08-1312, 2009 WL 4281968, at *2 (E.D. Cal.
  23
       Nov. 24, 2009); see also Fed. R. Civ. P. 30(a)(1) (“A party may, by oral questions,
  24
       depose…a party, without leave of court….”). In spite of Plaintiffs’ best efforts,
  25
       Defendants continue to evade any attempts to schedule their depositions for months.
  26
       As such, Plaintiffs request that this court compel Defendants to comply with their
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   1 discovery obligations by making themselves available for depositions within 30-
   2 days of an Order granting this motion.
   3         Federal Rule of Civil Procedure 37(a)(1) permits “a party [to] move for an
   4 order compelling disclosure or discovery.” This Rule “encompasses an order to
   5 attend a deposition.” Sali v. Corona Regional Medical Center, 884 F.3d 1218, 1222
   6 (9th Cir. 2018); see Reishus v. Almaraz, No. CV-10-0760, 2011 WL 676920, at *2
   7 (D. Ariz. Feb. 23, 2011) (“Federal Rule of Civil Procedure 37(a)(1) provides that a
   8 party may move for an order compelling the attendance of a party at a deposition
   9 upon notice to the other parties.”); see also Hupp v. San Diego Cty., No. 12-cv-
  10 0492, 2014 WL 1921769, at *3 (S.D. Cal. May 13, 2014) (granting motion to
  11 compel deposition because the defendants are “entitled to discover Plaintiff’s
  12 version of the events in order to properly to evaluate the case and their trial
  13 strategy”). Plaintiffs properly noticed Defendants’ depositions for October 29 and
  14 30, 2018. DeSanctis Decl. ¶ 2. Based on Defendants’ apparent unavailability,
  15 Plaintiffs have continued to attempt to reschedule these depositions, but Defendants
  16 have consistently failed to cooperate. Under these circumstances, a court order
  17 compelling Defendants to appear at depositions within 30-days or less is
  18 appropriate. See Salazar v. San Bernardino Cnty. Sheriff’s Dept., No. EDCV 16-
  19 2595, 2017 WL 4736701, at *2-3 (C.D. Cal. Oct. 19, 2017) (granting motion to
  20 compel appearance at a deposition within 30-days of the order); see also Faalevao v.
  21 Mechem, No. 1:10-cv-00688, 2011 WL 1883804, at *2 (E.D. Cal. May 17, 2011)
  22 (granting motion to compel deponent’s appearance at deposition after deponent
  23 attempted to delay deposition by three months).
  24         Nor does defense counsel’s asserted breakdown in the relationship with his
  25 clients excuse Defendants’ failure to sit for depositions. See Roz v. Nestle Waters N.
  26 Am. Inc., No. CV 16-4418, 2017 WL 6940512, at *1 (C.D. Cal. June 21, 2017). In
  27 Roz, for example, the court granted a motion to compel the deposition of a deponent
  28 who “refused to give alternate dates” after “indicat[ing] unavailability on the noticed
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   1 date.” Id. The deponent had suffered an “irremediable breakdown in the
   2 relationship” with his counsel, and counsel asserted that he “no longer represents
   3 [deponent] and [deponent] no longer returns his calls.” Id. Despite this apparent
   4 breakdown, the Roz court saw “no reason why it should not grant … [the] Motion to
   5 Compel.” See also Salazar, 2017 WL 4736701, at *2-3 (granting motion to compel
   6 deposition where deponent’s counsel claimed he was unable to reach deponent).
   7            Plaintiffs respectfully request that the Court enter the proposed order granting
   8 Plaintiffs’ motion to compel Defendants’ appearance at depositions within 30-days
   9 of this Court’s order.
  10
  11 DATED: February 22, 2019                  Respectfully submitted,
  12
                                               MUNGER, TOLLES & OLSON LLP
  13
  14
  15                                           By:        /s/ Michael B. DeSanctis
                                                   MICHAEL B. DESANCTIS
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                                               Attorneys for Plaintiffs
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